            Case 1:21-cv-00122-LGS Document 17 Filed 01/11/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TZUMI INNOVATIONS, LLC,

                              Plaintiff,
                                                                  21 Civ. 122 (LGS)
                      -against-
                                                                       ORDER
ANDREW R. WHEELER, et al.,

                              Defendants.

LORNA G. SCHOFIELD, United States District Judge:

          WHEREAS, Plaintiff filed an ex parte application for emergency temporary restraining

order and preliminary injunction on January 7, 2021, and by Order at Dkt. No. 12, the parties

were directed to meet and confer and file a joint letter, proposing a briefing schedule for the

remaining submissions and informing the Court whether the effectiveness of any issuance of a

Stop Sale, Use, or Removal Order (“SSURO”) may be delayed pending resolution of the matter;

          WHEREAS, the Government has confirmed that it will be at least 35 days before the

Government issues any SSURO to Plaintiff, maintains that there is no basis at this time for the

temporary restraining order sought by Plaintiff and proposes a briefing schedule for Plaintiff’s

motion for preliminary injunction and the Government’s motion to dismiss (Dkt. No. 13).

Plaintiff separately filed a letter explaining its disagreement with the terms of the enforcement

standstill (Dkt. No. 15), and the Government filed a further reply (Dkt. No. 16). It is hereby

          ORDERED that a telephonic conference will be held on Thursday, January 14, 2021,

at 11:30 a.m. on the following conference line: (888) 363-4749, access code 558-3333. The

time of the conference is approximate, but the parties shall be ready to proceed at that time. It is

further

          ORDERED that the parties shall meet and confer in good faith to agree to a specific and

unambiguous joint proposal. By 3:00 p.m., Wednesday, January 13, 2021, the parties shall file
          Case 1:21-cv-00122-LGS Document 17 Filed 01/11/21 Page 2 of 2




a joint status letter informing the Court whether the parties have agreed, in which case the

conference will be cancelled and the proposed briefing schedule entered, and if not, providing

the parties’ respective positions as to the application for the emergency temporary restraining

order.

 Dated:   January 11, 2021
          New York, New York




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